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 4   Attorney for Defendant
     BRIAN PICKARD
 5

 6                               UNITED STATES DISTRICT COURT

 7                               EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                          No. 2:11-cr-00449-KJM-16

10                  Plaintiff,                          STIPULATION TO EXTEND TIME
                                                        FOR POSTING PROPERTY BOND
11          v.                                          BY TWO ADDITIONAL WEEKS
                                                        TO NOVEMBER 16, 2011
12   BRIAN PICKARD,
                                                        Court: Hon. Edmund F. Brennan
13                  Defendant.
                                              /
14

15          IT IS HEREBY STIPULATED between the parties that the time for defendant BRIAN

16   PICKARD to post the property bond with this Court in order to secure his pretrial release shall

17   be extended by two weeks from November 2, 2011, to November 16, 2011.

18          IT IS SO STIPULATED.

19                                                        BENJAMIN B. WAGNER
                                                          United States Attorney
20

21   /S/ZENIA K. GILG                             By:     /S/SAMUEL WONG
     ZENIA K. GILG                                        SAMUEL WONG
22   Attorneys for Defendant                              Assistant U.S. Attorney
     BRIAN PICKARD                                        Dated: October 31, 2011
23   Dated: October 31, 2011

24

25                                                ORDER

26   IT IS SO ORDERED.

27   Dated: November 1, 2011.

28
